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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                              ORLANDO DIVISION

ALLISON OSMOND f/k/a ALLISON NEAL,

       Plaintiff,

-vs-                                         CASE NO.: 6:17-CV-1121-ORL-31-KRS

CREDIT ONE BANK, N.A.,

        Defendant.
                                  /


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE


       COMES NOW Plaintiff, Allison Osmond, and Defendant, Credit One Bank, N.A.,

and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), hereby stipulate to dismiss, with

prejudice, each claim and count therein asserted by Plaintiff against the Defendant in

the above styled action, with Plaintiff and Defendant to bear their own attorney’s fees,

costs and expenses.

       Respectfully submitted this 29th day of March, 2018.

 /s/ Octavio Gomez                           /s/ Michael Schuette
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